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Geoffrey Hart

August 24, 2018

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan
Dear Judge Sorokin-

By way of introduction, my name is Geoff Hart and | am a resident of Hingham, Massachusetts.
My wife, Eileen and | have three children, (12) a Be). All of my children
attend or have attended Plymouth River Elementary School and play multiple sports. It is
through school and athletics that we were first introduced to Ross McLellan and his family. My
oldest plays hockey with McLellan and baseball with BE Mctellan. My daughter is in the

same grade as McLellan and sings in the choir with him. My youngest son plays hockey
with ie. and can often be found palling around the neighborhood with him as
well. | have coached nd in hockey and in baseball. As you can sense by now,

The Hart Family has a tremendous amount of overlap with Ross and his family and we could not
be happier. They are a wonderful family and Eileen and | have become great friends with Ross
and Lisa over the years.

|am honored to call Ross McLellan a friend. As hockey parents and coaches, Ross and | spend a
good amount of time at the rink and away at tournaments together. All the kids on the ice
know Coach McLellan because he is the funny one with all the funny sayings delivered via a
horrible Rhode Island accent. All of the parents and coaches know Ross because he is known in
Hingham Youth Hockey as the “go to guy”. If you need equipment, if you need an extra sheet of
ice, if a referee does not show, Ross McLellan is the first one you call. He usually has the answer
ora path to the solution very quickly.

Two years ago Ross noticed that because of hockey and parent schedules that more and more
kids were around over the holiday break. He reached out to Youth Hockey Coordinators in
surrounding towns and verified that it was not just Hingham. Over the 2017/2018 winter break,
Ross organized a Mite House Hockey tournament that included 8 towns. Most hockey
tournaments are for profit. Ross created and ran the 2017/2018 Hingham Mite House Holiday
Classic because there was a need and he ran the tournament at cost and using as many
volunteers as possible. Months later he ran a similar tournament for the middle school kids as

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well, also at cost. Ross McLellan has proven many times that he cares about the kids, the
community and the program and always has a new idea that will keep the kids occupied and
active. You can ask anyone around Hingham and they will tell you that Ross McLellan is Mr.
Hingham Youth Hockey.

Last summer, The McLellan Family got behind the Hingham Wiffleball Classic to benefit Boston
Children’s Hospital. Not only did Ross and Lisa play a large part in organizing this event they
drove the volunteer spirit that is so much a part of their DNA. The contributions and number of
volunteers over last year is expected to double this year and Ross and Lisa (and their kids) are a
big part of that effort.

Over the years, with multiple sports, trips and conflicting schedules | have had the task or
opportunity to include the McLellan boys in carpools. When picking up or dropping off it is
always a “thank you, Mr. Hart”. This is not always the case with every group but with the
McLellan boys it is one hundred percent of the time. My wife and | always discuss who the
polite kids are and who are the kids that we want our kids to act like are. For us, we always
arrive at the McLellan boys. | truly believe children’s behavior out and about is a reflection of
what is going on at home and | can tell you that there are good things happening at the
McLellan home. Ross and Lisa are doing a wonderful job with their family and their kindness
and generosity is coming through their children as well. In terms or support and cheering, my
wife and | are pretty reserved at the rink and at the field. My kids or any kids on the team never
lack for cheers or encouragement because the McLellan’s are cheering for everyone, all the
time. They are active and supportive cheerleaders for every sport and cause that they are a part
of.

Little s twin. | am not sure as a parent that you are allowed to have a favorite

but from the outside observer might win that nomination from Ross. GB Mctellan goes

to every sporting event for her 3 brothers and the bond that Ross has with [jis amazing.
is funny, energetic and everyone knows how close they are. can deliver a one-liner like her
Dad and have you laughing just as hard. As the little sister, runs the house and offers the
sanity that a house needs with 3 boys and Ross is always telling jokes and stories saying “ Thank

God for i.

At Plymouth River School there is constantly a need for volunteers and my wife and | do our
best to make certain that we contribute. We have been part of the PRS community for close to
7 years and there has never been a time when we have volunteered that the McLellan’s were
not there pitching in as well. The McLellan Family exemplifies what it means to give back.

There have been many times over the years where | have sought out Ross’ counsel on personal
matters, tryout results, coaching issues and Ross always listens, he puts me at ease and
honestly lets me know if | am in the wrong and offers advice on what | should do next. |
consider Ross a great friend and he has played a large part in my life and my family’s life since
moving to Hingham. Ross is a genuine person, someone that people look up to and someone
who has proven time and time again as someone who cares.

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In closing, thank you for the opportunity to share some of my experiences, thoughts and
feelings about Ross McLellan.

Kind regards,
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